     Case 2:12-cv-05327-JFW-MRW Document 12 Filed 06/24/12 Page 1 of 2 Page ID #:63



 1    LAW OFFICES OF COURTNEY M. COATES
      COURTNEY M. COATES - 203448
 2    26201 Ynez Road
      Suite 103
 3    Temecula, CA 92591
      P: (951) 595-8118
 4    F: (951) 296-2186
      ccoateslaw@gmail.com
 5
      Attorneys for Plaintiffs
 6    MASSEY ENTERPRISE INTERNATIONAL, INC.
      KYLE MASSEY AND CHRISTOPHER MASSEY
 7

 8                        UNITED STATES DISTRICT COURT
 9               IN AND FOR THE CENTRAL DISTRICT OF CALIFORNIA
10

11    MASSEY ENTERPRISE                      Case No. CV 12-05327 JFW (MRWx)
      INTERNATIONAL, INC.; BOY-
12    O-BOY ENTERTAINMENT,                   DECLARATION OF LEAD TRIAL
      INC.; ANGEL MASSEY;                    COUNSEL RE: COMPLIANCE WITH
13    KYLE MASSEY; CHRISTOPHER               GENERAL ORDER AUTHORIZING
      MASSEY                                 ELECTRONIC FILING
14
                     Plaintiffs,             Action Filed: June 19, 2012
15
            v.
16
      ASSOCIATED TELEVISION
17    INTERNATIONAL; HELPING
      HANDS, LLC; DAVID McKENZIE,
18    also known as DAVID STANTON,
      and DOES 1-10,
19
                     Defendants.
20
21

22
      I, Courtney M. Coates, declare as follow:
23

24          1.     I am the lead trial attorney for Plaintiffs MASSEY ENTERPRISE
25
      INTERNATIONAL, INC.; BOY-O-BOY ENTERTAINMENT, INC.; ANGEL
26
      MASSEY; KYLE MASSEY; CHRISTOPHER MASSEY in the above-captioned
27

28
                                             -1-
      DECLARATION OF LEAD TRIAL COUNSEL RE: COMPLIANCE WITH GENERAL ORDER
                                                                                      .
      AUTHORIZING ELECTRONIC FILING
     Case 2:12-cv-05327-JFW-MRW Document 12 Filed 06/24/12 Page 2 of 2 Page ID #:64



 1    matter. Pursuant to the district court’s Standard Order, I hereby notify this Court
 2
      that I am registered as an “ECF User.”
 3

 4          2.   My office consents to and hereby accepts service and receipt of filed

 5    documents by electronic means. My “Email Address of Record” is as follow:
 6
      ccoateslaw@gmail.com, which may be used by this Court and the Defendants for
 7

 8    purposes of service of all pleadings and other court-related documents to be filed
 9    with the Court.
10
            I declare under penalty of perjury under the laws of the United States of
11

12    America that the foregoing is true and correct. Executed this 24th day of June 2012
13    in Temecula, California.
14

15

16                                   By: /s/ Courtney M. Coates
                                       COURTNEY M. COATES
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                                               -2-
      DECLARATION OF LEAD TRIAL COUNSEL RE: COMPLIANCE WITH GENERAL ORDER
                                                                                            .
      AUTHORIZING ELECTRONIC FILING
